Gustave J. LABARRE, Jr., Ramona B. Talbot, Howard J. Dupre, III, Gail D. Boudreaux, Floyd A. Labarre, Marlene L. Folse, Cheryl D. Daigle, Henry R. Lawes, Jr., Sidney J. Hernandez, June D. Bouchereau, Louis P. LeBlanc Jr., Peirre F.V. Delabarre IV, Mary G. Delabarre; Katherine D. Labarre, Andre P.V. Delabarre, Gilbert J. Dupre Jr., Grant J. Dupre, Grantlyn D. Wheeler, Elena R. LeBlanc, Helen H. Shaw, Anita H. Williams, Gertrude L. Landry, Lydia L. Shavers, Merrill L. Cornay, Harry J. Simoneaux Sr., Harry J. Simoneaux Jr., Amy Simoneaux, Lyle T. Simoneaux, Joie A. Simoneaux, Simone S. Lawson, Christopher A. Simoneaux, Gregory J. Dupre, Augusta L. Riffert, Albert H. LeBlanc Jr., Maria Carmen Delabarre, and Lizarraga Enterprises, LLC v. TEXAS BRINE COMPANY, LLC and Georgia Gulf Chemical &amp; Vinyls, LCCDenied.